                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                  PADUCAH DIVISION
                                        5:22-CV-117-BJB
                              CASE NO. _________________

IN THE MATTER OF THE COMPLAINT OF
MARQUETTE TRANSPORTATION COMPANY, LLC,
AS OWNER AND OPERATOR OF THE M/V MARQUETTE
WARRIOR, OFFICIAL NO. 560979, FOR
EXONERATION FROM OR LIMITATION OF LIABILITY



                           VERIFICATION OF COMPLAINT
                   BY MARQUETTE TRANSPORTATION COMPANY, LLC
                                (Electronically Filed)



          I, Darin M. Adrian, state and declare as follows:

          1.     That I am Executive Vice President for Marquette Transportation Company,

LLC, Limitation Plaintiff in the above captioned proceeding;

          2.     That I have read the above and foregoing Complaint, and all of the allegations

of fact contained therein are true and correct to the best of my information, knowledge and

belief;

          3.     That I am authorized by Marquette Transportation Company, LLC to make

this Verification on its behalf; and

          4.     That I make this Verification as my free act and deed and as the free act and

deed of Marquette Transportation Company, LLC.

          PURSUANT TO 28 U.S.C. SECTION 1746, I DECLARE UNDER THE PENALTY OF

PERJURY THAT THE FOREGOING IS TRUE AND CORRECT TO THE BEST OF MY

KNOWLEDGE, INFORMATION AND BELIEF.
